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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

THOMAS R. HAYES,

              Plaintiff,

v.                                                  Case No. 4:19cv97-MW/EMT

CORIZON HEALTH, INC., et al.,

          Defendants.
__________________________/

           ORDER ACCEPTING REPORT AND RECOMMENDATION

       This Court has considered, without hearing, the Magistrate Judge’s Report

and Recommendation, ECF No. 150. Upon consideration, no objections having been

filed by the parties,

       IT IS ORDERED:

       The report and recommendation is accepted and adopted as this Court’s

opinion. Defendants’ motions to dismiss, ECF Nos. 116 and 119, are DENIED. The

Clerk is directed to terminate ECF No. 109. 1 This case is transferred to the United




       1
        Defendants Inch, Jones, and Florida Department of Corrections filed a notice of dismissal
pursuant to a settlement agreement. ECF No. 145. This Court construed the notice as a motion to
dismiss and dismissed Plaintiff’s Amended Complaint, ECF No. 102, with prejudice as to
Defendants Inch, Jones, and Florida Department of Corrections. ECF No. 148. This dismissal
mooted Defendant Jones’s motion to dismiss, ECF No. 109.
                                               1
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States District Court for the Middle District of Florida. The Clerk shall take all steps

necessary to effect the transfer and close the file.

      SO ORDERED on October 22, 2020.

                                         s/Mark E. Walker
                                         Chief United States District Judge




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